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Plaintiff,

v. CAsENo.OS.-. _603 1 5
W. ANTHoNY HUFF, C\\/ zl_OCHDGE

DANNY L. PIXLER, MAGISTRATEJU
ANTHoNY R. Russo, SNOW
oTHA RAY MCCARTHA, and

CHARLES J. SPINELLI,

Defendants,
SHERI HUFF, ROXANN PIXLER,
MIDWEST MERGER MANAGEMENT, LLC, and
BRENTWOOD CAPITAL CORPORATION,
Relief Defendants.

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COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF
Plaintiff Securities and Exchange Commission alleges and states as follows:
I. INTRODUCTION

l. Frorn approximately 2001 through 2004, Defendants: Danny L. Pixler, the former
chief executive officer of Certifled Services, lnc., (“Certifled”) a professional employee leasing
organization; W. Anthony Huff, a convicted felon and undisclosed control person of Certifled;
Anthony R. Russo, Certifled’s former chief financial offlcer; Otha Ray McCartha, a Certifled

board member; and Charles J. Spinelli, a Certifled consultant (collectively “Defendants”)

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siphoned tens of millions of dollars of Certified’s funds through an elaborate scheme conducted
in flagrant disregard of the federal securities laws.

2. Defendants’ scheme consisted of artificially inflating Certified’s financial
condition and failing to disclose related party transactions that benefited Defendants. Defendants
pumped up the amount of assets Certified reported to the Commission and the investing public
by recording, at the high point, almost $47 million in bogus Letters of Credit as an asset on its
balance sheet while simultaneously artificially reducing its reported liabilities by not recording,
at the high point, approximately $65 million relating to workers compensation As a result of
Defendants’ misconduct, Certified overstated its assets by approximately 35% and understated
its liabilities by about 38% for fiscal year-end 2002, and understated its liabilities by more than
50% for fiscal year-end 2003.

3. ln addition, Defendants Pixler and Huff used their control over Midwest Merger
Management, LLC (“Midwest”), Certified’s controlling shareholder, to improperly divert money
out of Certified’s coffers and into their own pockets by having Midwest enter into bogus
agreements with Certified. Defendants’ misconduct caused Certified to materially misrepresent
its assets, liabilities, and related party descriptions and transactions in its filings with the
Commission and allowed them to reap millions of dollars in ill-gotten gains.

4. Defendants’ conduct violated, or caused violations of, the antifraud and issuer
reporting provisions of the federal securities laws. Unless enjoined, they will continue to violate
those laws.

II. DEFENDANTS AND RELIEF DEFENDANTS

A. Defendants

5. Huff, age 46, resides in Louisville, Kentucky. Huff exerted undisclosed financial

and managerial control over Certified and Midwest. In 1998, the State of Kentucky revoked

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Huff"s insurance license in connection with a $113,000 insurance premium theft. In 2004, Huff
pled guilty to three counts of mail fraud in federal court for his involvement in a multi-million
dollar fraud and was ordered to pay approximately 3180,000 of restitution.

6. Pixler, age 59, resided in Fort Lauderdale, Florida through at least August 2006.
From approximately August 2002 through May 2006, Pixler was at various times Certified’s
CEO, president, chief operating officer, and on its board of directors. Pixler is an indirect owner
and co-manager of Midwest and a consultant for Brentwood Capital Corporation (“Brentwood”).

7. Russo, age 65, resides in Rye Brook, New York. From at least August 2002
through approximately November 2003, Russo was Certified’s CEO, and from April through
September 2005, he Was the company’s CFO. He also served on the board of directors. While
employed at Certified, Russo was also Brentwood’s CFO, vice-president and COO. During the
time Russo was with Certified, he was licensed as a certified public accountant in New York.
His license lapsed in November 2006.

8. McCartha, age 58, resides in Winter Park, Florida. At various times, McCartha
was a consultant to Midwest, a Brentwood executive vice-president, Certified’s chief risk officer,
and on Certified’s board. Due to his involvement in a fraudulent insurance scheme, on October
12, 2007 , McCartha pled guilty in federal court to one count of conspiracy to commit wire and
one count of mail fraud. The court sentenced him to 24 months in prison and ordered him to pay
approximately $3.6 million in restitution.

9. Spinelli, age 44, resides in Chatham, New Jersey. He was the CEO and sole
shareholder of Brentwood from 2000 through at least 2002. Beginning in June 30, 2003, Spinelli
was also a consultant to Midwest and Certified. Spinelli is licensed to practice law by the New

York Bar. Due to his involvement with Brentwood, on October 3, 2007, Spinelli pled guilty to

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conspiracy to commit wire fraud and misprision of a felony, and the court sentenced him to 21
months in prison and ordered him to pay millions of dollars in restitution

B. Relief Defendants

10. Midwest, a Kentucky limited liability company, is headquartered in Louisville,
Kentucky. ln July 2001, Pixler and Huff created Midwest. ln November 2001, Midwest
purchased a majority stake in Certified, an inactive shell company, Midwest controlled Certified
as its principal shareholder. Certified stated in its Form 10-K for year-end 2002 that Midwest
could be deemed to own and control 80% of Certified.

ll. Brentwood is a New York corporation headquartered in Summit, New Jersey and
was managed by Spinelli. Certified paid Brentwood millions of dollars from 2002 through at
least 2003,

12. Sheri Huff resides in Louisville, Kentucky. In 1993, Sheri Huff and Huff were
divorced, but they have lived together since 1995 . Sheri Huff has a majority ownership stake in
Midwest, but did not perform meaningful services for it. Sheri Huff also received approximately
$200,000 per year from Brentwood for purported consultant work, but also did not perform
meaningfdl services for Brentwood.

13. Roxann Pixler resided in Fort Lauderdale, Florida through at least August 2006.
She is Pixler’s wife and owns 40% of Midwest. She did not provide meaningful services to
Midwest.

C. The Issuer

14. Certified is a Nevada corporation formed in 1999 and formerly headquartered in
Fort Lauderdale, Florida. Its principal business was operating a professional employee leasing

organization During the relevant time period, Certified’s common stock was registered with the

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Commission and its stock was publicly traded. Certified failed to file its 2004 Form lO-K and
subsequent quarterly Form lO-Qs and lO-Ks. Since May 2006, Certified has been in bankruptcy
under Chapter 11, and its assets and affairs are now under the control of a Chapter ll trustee and
supervision of the bankruptcy court.

III. JURISDICTION AND VENUE

15. This Court has jurisdiction over this action pursuant to Sections 20(b), 20(d) and
22(a) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§ 77t(b), 77t(d) and 77v(a),
and Sections 21(d), 21(e), and 27 of the Securities Exchange Act of 1934 (“Exchange Act”), 15
U.S.C. §§ 78u(d), 78u(e) and 78aa

16. This Court has personal jurisdiction over the Defendants and Relief Defendants
and venue is proper in the Southem District of Florida, because, among other reasons, Certified’s
principal place of business was in the Southern District of Florida, ln addition, Defendants’ acts
and transactions constituting violations of the Securities Act and Exchange Act occurred in the
Southern District of Florida,

17 . Defendants and Relief Defendants, directly and indirectly, made use of the means
and instrumentalities of interstate commerce, and the mails, in connection with the acts, practices
and courses of business set forth in this Complaint.

IV. FACTUAL BACKGROUND

A. Certified and the Emgloyee Leasing Indust§y_

18. Certified and its subsidiaries operated an employee leasing business. Typically,
this kind of company provides small and medium-size businesses with a variety of human
resource services by acting as a co-employer of those businesses’ employees. Among other

things, the employee leasing company may assume some or all of its clients’ responsibilities and

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risks related to health and workers’ compensation insurance coverage. ln 2003, Certified served
1,900 business clients and acted as a co-employer to its clients’ approximately 53,000 employees
in 32 states

19. Certified’s business model was to bundle together smaller companies’ payroll
processing, employment tax withholding, and workers’ compensation insurance so they could
achieve the same economies of scale as large corporations

B. Background and Control of Companies

1. Midwest and Brentwood

20. ln or around July 2001, Pixler and Huff formed Midwest as a holding company,
capitalized it with $500, and listed Pixler’s wife and Huff’ s ex-wife as the primary shareholders
In or around November 2001, Midwest acquired a majority ownership interest in Certified, an
inactive public shell company, and aggressively grew the company, Almost immediately, Pixler
and Huff caused Certified to enter into several non-arms-length agreements with Midwest and
Brentwood. Pixler and Huff each exercised substantial control over the business decisions and
management of both Certified and Midwest.

21. Huff also exercised significant influence over Brentwood, including authorizing
payments to obtain the Letters of Credit. As early as 2001, Huff devised the organizational
structure of Certified, Midwest and Brentwood so the three entities worked together under Huffs
ultimate control by using Certified to develop the employee leasing business; Brentwood to
develop the insurance carriers; and Midwest to coordinate the financing transactions In
addition, Huff exercised substantial control over nearly all negotiations and transactions among

these three entities

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2. Commol_l Col_ltrol of Midwest al_ld Certified

22. Pixler and Huff, through their control of Midwest, also controlled Certified, They
controlled Midwest through their nominees, Sheri Huff and Roxann Pixler, who together owned
a majority of Midwest’s stock. ln tum, they exercised control over Certified since Midwest was
Certified’s controlling shareholder.

23. Huff managed every aspect of Midwest’s business, using a former full-time
secretary from Certified and minority owner of Midwest as a front. While the secretary was held
out as a person with substantial authority over Midwest, in reality she needed Huff’ s approval
before entering into any contract for Midwest and her duties were largely ministerial, such as
withdrawing cash from Midwest’s bank accounts and delivering it to Huff, Furthermore,
Certified paid her salary, even though she purportedly worked for Midwest.

24. Pixler also played an important and undisclosed role in Midwest’s operations
Through his wife’s ownership interest he was an owner of Midwest. In addition, he received
$2,5 00 per week from Midwest and acted as its co-manager.

25. Huff and Pixler also controlled Certified. Pixler ran Certified’s daily operations
and approved payments and transactions on behalf of the company, including approving the
Certified payments to Midwest that were integral to Pixler and Huff’s scheme to loot Certified,
Huff’ s control of Certified was substantial and concealed from investors For example, Huff
frequently attended Certified’s management meetings, regularly represented Certified, referred to
himself as Certified’s significant shareholder in important business negotiations routinely made
financial decisions for Certified such as approving payments, and decided what information

Certified would disclose in its public filings

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V. The Fraudulex_lt Scheme

26. During the relevant time period, Pixler and Huff, either directly or by directing
others associated with Certified, siphoned millions of dollars from Certified’s coffers into their
or their nominees’ pockets Overall, Certified transferred approximately $lSO million to
Midwest, of which Midwest retained approximately $30 million without providing legitimate
services for this substantial sum.

27. Defendants either directly or by directing others, enhanced Certified’s balance
sheet through the auspices of Brentwood, another private company with close ties to Certified
and Midwest. As part of the fraudulent scheme, McCartha and Spinelli obtained $48 million of
dollars worth of fabricated Letters of Credit. Even though the Letters of Credit were bogus,
Defendants recorded them as assets of Certified,

28. Defendants also failed adequately to disclose in Certified’s public filings material
related-party relationships and related-party transactions used to siphon money out of Certified.
Defendants, specifically Pixler, Russo and Huff, knew or were severely reckless in not knowing
about these related party relationships when they each signed or caused Certified to submit false
filings with the Commission. As further described below, Defendants’ misconduct caused
Certified to file false financial information in violation of Generally Accepted Accounting
Principles (“GAAP”) beginning no later than the third quarter of fiscal year 2002 and continuing
through the third quarter of fiscal year 2004.

A. The Sham Risk Agreement

29. Certified grew from a shell company with minimal assets to a company with
approximately $78 million in revenues and reported approximately $107 million in assets in

2003, principally by issuing stock and debt to acquire professional employee organizations

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30. As Certified’s business expanded, it entered into a Risk Allocation Agreement
(“Risk Agreement”) with Midwest, purportedly for Midwest to manage Certified’s workers’
compensation program and to protect against the exposure Certified would face from large
claims

31. In reality, the Risk Agreement lacked economic substance and did not shift risk
from Certified to Midwest. Instead, it served as a way to siphon Certified’s money into
Midwest. According to Certified’s 2002 amended Form lO-KSB/A filing, the express terms of
the Risk Agreement where that Midwest would “assume responsibility for and promptly make all
required payments in excess of the applicable deductibles” (emphasis added). However,
Certified already had re-insurance that protected it against having to make payments in excess of
the applicable deductible ($l million per claim). Thus, there was no legitimate reason for the
Risk Agreement.

32. Moreover, even if the Risk Agreement had provided any real economic
protection, it is very unlikely that Midwest would have been able to honor the agreement as
Midwest had an initial capitalization of only $500, negative equity for 2001 - 2003, and no
actual staff other than a secretary who followed Huff`s orders

33. The bogus nature of the Risk Agreement is further demonstrated by the fact that it
was backdated to reflect an effective date of January 1, 2002 even though it was actually signed
in early 2003. Defendants represented that Certified and Midwest entered into the Risk
Agreement on January 1, 2002 and it was signed by Russo as President for Certified and signed
by Huff’s nominee for Midwest. lt is, however, demonstrably false that Russo could enter into
the agreement as Certified’s President, since as of January 1, 2002 he was neither Certified’s

President nor employed by Certified. Moreover, even though the Risk Agreement was not

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actually entered into early 2003, by December 31, 2002 Certified had already paid Midwest more
than $16 million under this backdated sham agreement

34. Moreover, Defendants used the Risk Agreement to remove a huge liability from
Certified’s balance sheet. Beginning in the third quarter of 2002 through the third quarter of
2004, Defendants violated GAAP When, at its height, they failed to record approximately $65
million in workers compensation liabilities on Certified’s balance sheet that was included in
filings with the Commission. Defendants purportedly did not include these liabilities on
Certified’s balance sheet because the Risk Agreement shifted workers compensation claims to
Midwest. However, in reality these filings improperly omitted Certified’s liabilities since
Certified was still obligated to pay these liabilities and these liabilities were not transferred to
Midwest. Furthermore, Certified’s reinsurance provider never contracted with Certified to
substitute Midwest as the responsible party for deductibles Thus, Defendants knew, or were
extremely reckless in not knowing, they had improperly removed that tens of millions of dollars
of liabilities from Certified’s financial statements

35. Moreover, Huff, Pixler and Russo knew, or were extremely reckless in not
knowing, that the Risk Agreement lacked economic substance and transferred Certified’s funds
to Midwest for meaningless services From approximately 2002 through 2005, Certified paid
Midwest approximately $l30 million Midwest kept approximately $30 million of that amount
without providing any real services because, as described above, in reality there was no transfer
of risk or liabilities from Certified to Midwest.

36. Furthermore, Russo who signed the Risk Agreement on behalf of Certified
testified Certified retained the liability for the workers’ compensation policies, yet admitted that

the liability was not reflected on Certified’s financial statements

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B. Defel_ldants Sho\Li Not Have Reported the Letters of Credit as an Asset

37. Beginning no later July 2002, Certified’s reinsurance provider required the Cura
Group, a Certified subsidiary, to post more collateral due to Certified’s rapidly expanding
business Certified purportedly obtained the collateral in the form of Letters of Credit that were
to expire in one year.

1. Lie Letters of Credit were Fake

38. From July 2002 through May 2003, Brentwood procured 16 Letters of Credit for
Certified with a purported face amount of $47 million through Strategic Bancorp, LLC
(“Strategic”). McCartha, a Brentwood executive vice-president, worked directly with Strategic
to obtain the Letters of Credit for Cura. During part of this time, McCartha was also both a
member of Certified’s board of directors and a Certified employee.

39. Spinelli approved each Letter of Credit transaction with Strategic. Most of the
time, Spinelli signed disbursement forms authorizing withdrawals from Brentwood’s bank
account to pay Strategic for the Letters of Credit. However, the Letters were neither backed nor
issued by a financial institution and were not collateralized. Strategic simply drafted and
executed the fake Letters of Credit and forwarded them to McCartha, who then delivered them to
Certified or the reinsurance company.

40. Based on his prior illegal dealings with Strategic’s president, Spinelli knew, or
was extremely reckless in not knowing, the Letters of Credit were bogus For example, in June
2002, Spinelli appointed Strategic’s president as a Brentwood assistant vice-president for the
purpose of authorizing him to create a fake $5 million bank account for Brentwood.
Furthermore, Spinelli saw a Letter of Credit with a suspicious letterhead but made no further

inquiry once Huff assured him he had resolved the matter.

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41. McCartha knew, or was extremely reckless in not knowing, that the Letters of
Credit were bogus because he was working at Brentwood and dealing directly with the forger to
fabricate them. McCartha occasionally directed the forger to revise or adjust specific terms of
the yet to be issued Letters of Credit, such as cautioning him to take steps to ensure the return
address on the envelope containing a Letter of Credit was consistent with the one on the bank
letterhead.

42. Additionally, Huff, a central figure at Certified, Brentwood, and Midwest had
ample knowledge based on his assurance to Spinelli that he had resolved the matter regarding the
suspicious letterhead that the Letters of Credit were bogus These factors, coupled with the fact
that Certified, Midwest and Brentwood did not furnish the collateral to secure the Letters of
Credit, provided sufficient notice to Huff and McCartha that the Letters of Credit were fake.
Instead of acting to protect Certified’s shareholders, Huff and Pixler acted to protect themselves
by having Certified execute a release in favor of Midwest to shield it from liability in connection
with the fake Letters of Credit.

43. Starting with Certified’s 3rd quarter 2002 Form lO-Q through Certified’s 2nd
Quarter 2003 Form lO-Q, in violation of GAAP, Defendants reported between $9 million and
more than $47 million of fake Letters of Credit on Certified’s financial statements filed with the
Commission and disseminated to the investing public. Defendants Huff and McCartha knew, or
Were extremely reckless in not knowing, they should not have reported the fake Letters of Credit
as an asset.

44. Even if these Letters of Credit obtained by Defendants were genuine, which they
were not, Defendants violated GAAP by reporting the Letters of Credit as an asset on Certified’s

balance sheet. This is true for several reasons: (1) the Letters provided no future economic

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benefit or positive cash flow to Certified because it did not own or control them; consequently,
Certified could not convert the Letters to cash or transfer them; (2) the cash that purportedly
backed the Letters of Credit would not have flowed to Certified under any circumstance - either
upon expiration or if Certified drew on them; (3) Certified did not derive any future economic
benefit from the Letters of Credit because it paid fees to use them for a fixed period of time,
usually one year; and (4) Certified was wholly dependent on third parties renewing them when
they expired. Under these circumstances by reporting the Letters of Credit on Certified’s
balance sheet, Defendants violated GAAP by booking the Letters as an asset on Certified balance
sheets on filings made with the Commission starting with Certified’s 3rd quarter 2002 Form 10-Q
through Certified’s 2nd Quarter 2003 Form lO-Q.

C. Defendants Failed to Disclose Related Party Transactions

45. Defendants failed to make legally required disclosures regarding related parties
For example, Certified disclosed in its 2002 Form 10-K that Midwest controlled Certified, but
did not disclose Pixler was a co-manager of Midwest and Huff, a convicted felon, was exercising
control over Certified, ln addition, this disclosure and the ones that followed were legally
deficient since, among other reasons, Defendants failed to disclose until the 3rd Quarter of 2004
that Pixler had received payments from Midwest.

46. Moreover, Defendants did not disclose that Pixler’s wife owned at least a 40%
stake in Midwest or that Huff controlled Midwest so that in reality, a convicted felon controlled
Certified.

47. Consequently, Defendants omitted material information that made the

representations about Certified’s business dealings with Midwest false and misleading

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D. Additiol_ial Schemes to Fl_l£iel Mogey to Midwest and Brentwood

48. Certified entered into a Long Term Capital Agreement (“Capital Agreement”)
with Brentwood, Subscription Agreements with both Brentwood and Midwest, and a Consulting
Agreement with Midwest. These agreements served to further enrich Midwest and Brentwood at
the expense of Certified’s shareholders by improperly funneling even more cash.

1. Capital Agreement

49. At Huff’s instigation, Certified and Brentwood executed the Capital Agreement
purportedly on September 30, 2002 with Pixler signing on behalf of Cura and Russo signing on
behalf of Certified, Even though the Capital Agreement was dated September 30, 2002, it
covered, among other things, letters of credit already provided to Certified, Certified and
Brentwood executed an amendment to the Capital Agreement purportedly on February 26, 2003
with Pixler again signing on behalf of Cura and Russo again signing on behalf of Certified. The
purpose of the Capital Agreement and the amendment was to compensate Brentwood for its role
in obtaining the fake Letters of Credit for Certified, Certified transferred almost $6 million in
cash and $1 million of preferred stock to Brentwood. From that amount, Brentwood netted
approximately $1.4 million in fees pursuant to the Capital Agreement for its role in procuring the
bogus Letters of Credit.

50. Certified entered into the Capital Agreement even though it had already paid
Midwest for at least one of the same Letters of Credit by transferring shares of preferred stock.
In essence, Certified provided excessive compensation to both Brentwood and Midwest for

Letters of Credit that did not exist, and Brentwood and Midwest did not own

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2. Subscription Agreements

51. Midwest entered into a Subscription Agreement with Certified to purchase shares
of Certified’s preferred stock, purportedly valued in the tens of millions of dollars The
Subscription Agreement was purportedly executed on December 31, 2002, with Pixler signing on
behalf of Certified and Huff’s nominee signing on behalf of Midwest. Brentwood also entered
into a similar Subscription Agreement.

52. The Subscription Agreements allowed subscribers to participate in Certified’s
preferred share offering, and thereby obtain substantial voting rights lt specifically provided
that a subscriber could use various forms of consideration to subscribe to the offering, including
cash or Letters of Credit. Midwest used the same Letter of Credit it obtained from Strategic for
Cura’s collateral requirement as consideration for the subscription

53. The Subscription Agreements were merely another way to transfer Certified’s
assets to Midwest and Brentwood. ln at least two transactions, Certified compensated both
Brentwood and Midwest for the same Letter of Credit by providing cash to Brentwood (pursuant
to the Capital Agreement) and preferred stock to Midwest (pursuant to the Subscription
Agreement).

3. Consulting Agreement

54. In January 2003, Midwest and Certified entered into a Consulting Agreement that
siphoned approximately $500,000 nom Certified, As with the Subscription Agreement, Pixler
signed for Certified and Huff directed his assistant to sign for Midwest. Under the Consulting
Agreement, Certified paid Midwest $10,000 per week for so-called general administrative

services

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55. The Consulting Agreement had no substance. Other than processing checks
Midwest did not perform any services to justify receipt of these substantial fees

56. Through these fraudulent schemes as described above Defendants and Relief
Defendants received ill-gotten gains

E. Defendants Repeatedly Made False Filings with the Commission

57. As a result of the fraudulent schemes as described above, Certified’s 2002 3rd
quarter filing, its fiscal year 2002 annual filing, its 2003 quarterly filings its fiscal year 2003
annual filing and nearly all of its 2004 quarterly filings were rife with misstatements and
omissions concerning Certified’s assets liabilities or related party relationships and/or
transactions

58. Certified’s 3rd Quarter 2002 Form 10-QSB for the period ending September 30,
2002 was filed on or about November 14, 2002 and contained numerous misrepresentations and
omissions For example, Defendants reported nearly $9 million of Letters of Credit as assets
which caused them to overstate Certified’s assets by approximately 34%. Defendants also did
not record nearly $9 million of workers compensation liabilities on Certified’s balance sheet,
which caused them to understate Certified’s liabilities by approximately 38%. Furthermore,
there were no disclosures regarding related party transactions involving Midwest, Pixler, Huff,
Roxann Pixler or Sheri Huff.

59. Certified’s 3rd Quarter 2002 Form 10-QSB was signed by, among others Russo as
CEO. ln addition, Russo certified that, among other things that, this filing did not contain or
omit any untrue statement of material fact and that Certified’s financial condition was fairly

presented in all material respects

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60. Certified’s 2002 Form lO-KSB for the period ending December 31, 2002 was
filed on or about March 31, 2003 and also contained numerous misrepresentations and
omissions For example, Defendants reported more than $18 million of Letters of Credit as
assets which caused them to overstate Certified’s assets by approximately 35%. Defendants
also did not record more than $18 million of workers compensation liabilities which caused
them to understate Certified’s liabilities by approximately 38%. Furthermore, Defendants
misrepresented when the parties entered into the Risk Agreement and provided misleading
disclosures regarding the Risk Agreement by claiming that Midwest would “assume
responsibility for and promptly make all required payments below the applicable deductibles.”
(Emphasis added). This disclosure is materially false and misleading since the express terms of
the Risk Agreement only provide for Midwest to “assume responsibility for and promptly make
all required payments in excess of the applicable deductibles.” (Emphasis added). Moreover,
Defendants did not make disclosures regarding related party transactions involving Pixler, Huff,
Roxann Pixler or Sheri Huff or disclose in Pixler’s background that he co-managed Midwest.

61. Certified’s 2002 Form 10-KSB was signed by, among others Russo as CEO,
Chief Financial Officer and Director; Pixler as President, Chief Operating Officer, and Director;
and McCartha as a Director. In addition, Russo certified this filing as CEO and CFO that, among
other things this filing did not contain or omit any untrue statement of material fact and that
Certified’s financial condition was fairly presented in all material respects

62. On or about April 10, 2003, an amended 2002 Form 10-KSB/A was filed and
signed by, among others Pixler, Russo, and McCartha, Defendants attached to this filing the
backdated Risk Agreement, which expressly contradicts Defendants description contained in the

2002 Form 10-K about the terms of the Risk Agreement.

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63. Certified’s 1st Quarter 2003 Form 10-QSB for the period ending March 30, 2003
was filed on or about April 30, 2003 and also contained numerous misrepresentations and
omissions For example, Defendants reported more than $18 million of Letters of Credit as
assets which caused them to overstate Certified’s assets by approximately 38%. Defendants
also did not record and more than $18 million of workers compensation liabilities which caused
them to understate Certified’s liabilities by approximately 42%. Moreover, Defendants did not
make disclosures regarding related party transactions involving Midwest, Pixler, Huff, Roxann
Pixler or Sheri Huff.

64. Certified’s 1st Quarter 2003 Form lO-QSB was signed by Russo as CEO, CFO
and Director, and Pixler as President, COO, and Director. In addition, Russo certified this filing
as CEO and CFO that, among other things this filing did not contain or omit any untrue
statement of material fact and that Certified’s financial condition was fairly presented in all
material respects

65. On or about May 9, 2003, an amended 1st Quarter 2003 Form 10-QSB/A was filed
and signed by Russo to include as exhibits certifications pursuant to Section 906 of the Sarbanes-
Oxley Act of 2002,

66. Certified’s 2nd Quarter 2003 Form lO-QSB for the period ending June 30, 2003
was filed on or about August 15, 2003 and also contained numerous misrepresentations and
omissions For example, Defendants reported more than $47 million of Letters of Credit as
assets which caused them to overstate Certified’s assets by approximately 45%. Defendants
also did not record more than $47 million of workers compensation liabilities which caused

them to understate Certified’s liabilities by approximately 43%. Moreover, Defendants did not

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make disclosures regarding related party transactions involving Midwest, Pixler, Huff, Roxann
Pixler or Sheri Huff,

67. Certified’s 2“d Quarter 2003 Form 10-QSB was signed by Russo as CFO and
Director, and Pixler as CEO and Director. ln addition, Russo as CFO and Pixler as CEO
certified that, among other things this filing did not contain or omit any untrue statement of
material fact and that Certified’s financial condition was fairly presented in all material respects

68. Certified’s 2003 3rd quarter Form 10-QSB for the period ending September 30,
2003 was filed on or about November 18, 2003 and also contained numerous misrepresentations
and omissions For example, Defendants did not record more than $49 million of workers
compensation liabilities which caused them to understate Certified’s liabilities by approximately
44%. Moreover, Defendants did not make disclosures regarding related party transactions
involving Pixler, Huff, Roxann Pixler or Sheri Huff,

69. Certified’s 3rd Quarter 2003 Form lO-QSB was signed by Russo as CFO and
Director, and Pixler as CEO and Director. In addition, Russo certified as CFO and Pixler
certified as CEO that, among other things this filing did not contain or omit any untrue statement
of material fact and that Certified’s financial condition was fairly presented in all material
respects

70. Certified’s 2003 Form 10-K for the period ending December 31, 2003 was filed
on or about March 30, 2004 and also contained numerous misrepresentations and omissions F or
example, Defendants did not report more than $55 million of workers compensation liabilities
which caused them to understate Certified’s liabilities by approximately 53%. Moreover,
Defendants did not make disclosures regarding related party transactions involving Pixler, Huff,

Roxann Pixler or Sheri Huff,

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71. Certified’s 2003 Form 10-K was signed by, among others Pixler as CEO and
Director. In addition, Pixler also certified that, among other things this filing did not contain or
omit any untrue statement of material fact and that Certified’s financial condition was fairly
presented in all material respects

72. Certified’s 1St Quarter 2004 Form 10-Q for the period ending March 30, 2004 Was
filed on or about May 12, 2004 and also contained numerous misrepresentations and omissions
For example, Defendants did not report more than $57 million of workers compensation, which
caused them to understate Certified’s liabilities by approximately 49%. Moreover, Defendants
did not make disclosures regarding related party transactions involving Midwest, Pixler, Huff,
Roxann Pixler or Sheri Huff.

73. Certified’s 1st Quarter 2004 Form 10-Q was signed by, among others Pixler as
President, CEO and Director. In addition, Pixler also certified that, among other things this
filing did not contain or omit any untrue statement of material fact and that Certified’s financial
condition was fairly presented in all material respects

74. Certified’s 2nd Quarter 2004 Form 10-Q for the period ending June 30, 2004 was
filed on or about August 12, 2004 and also contained numerous misrepresentations and
omissions F or example, Defendants did not report more than $60 million of workers
compensation liabilities which caused them to understate Certified’s liabilities by approximately
48%. Moreover, Defendants did not make disclosures regarding related party transactions
involving Pixler, Huff, Roxann Pixler or Sheri Huff`.

75. Certified’s 2nd Quarter 2004 Form 10-Q was signed by, among others Pixler as

President, CEO and Director. ln addition, Pixler certified that, among other things this filing did

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not contain or omit any untrue statement of material fact and that Certified’s financial condition
was fairly presented in all material respects

76. Certified’s 3rd Quarter 2004 Form lO-Q for the period ending September 30, 2004
was filed on or about November 18, 2004 and also contained numerous misrepresentations and
omissions For example, Defendants did not report more than $65 million of workers
compensation liabilities which caused them to understate Certified’s liabilities by approximately
46%. Moreover, Defendants did not make disclosures regarding related party transactions
involving Huff, Roxann Pixler or Sheri Huff and failed to disclose that Pixler was a co-manager
of Midwest.

77. Certified’s 3rd Quarter 2004 Form 10-Q was signed by, among others Pixler as
President, CEO and Director. ln addition, Pixler certified that, among other things this filing did
not contain or omit any untrue statement of material fact and that Certified’s financial condition
was fairly presented in all material respects

78. Moreover, each of these above filings made with the Commission, failed to
adequately disclose related party relationships and/or transactions

1. Fral_rdulent Stock Offering

79. On or about June 1, 2004, Defendants Huff and Pixler caused Certified to file a
Form S-3 Registration Statement with the Commission that was executed by, among others
Pixler as Chairman of the Board, President, CEO, Principal Executive Officer and Director. It
was later amended to include the financing documents to disclose that Certified obtained
funding from an investment firm that provides financing to small companies The Registration
Statement disclosed that Certified and the investment firm had entered into a Securities Purchase

Agreement. On or about April 15, 2004, the parties entered into the Securities Purchase

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Agreement that Pixler apparently executed on Certified’s behalf. ln addition, this agreement was
filed as an attachment to an 8-K filed on or about April 23, 2004 that was signed by Pixler as
CEO. Huff negotiated the transaction on Certified’s behalf, which resulted in Certified issuing
the financing company a note convertible into approximately 13.3 million shares of Certified’s
common stock and a warrant for 2.2 million shares in exchange for an $8.5 million line of credit.
The note was convertible into common stock at a conversion price of $0.95 per share. The
warrant was exercisable at prices ranging from $1.11 to $1.26 per share.

80. These filings contained materially false and misleading information because,
among other reasons Certified’s financial statements which were incorporated by reference,
failed to properly record its workers’ compensation liabilities and did not properly disclose
related party relationships and transactions ln addition, the Securities Purchase Agreement was
materially false and misleading information because, among other reasons it represented that
Certified December 31, 2002 and December 31, 2003 lO-K’s and its Quarterly Reports on Form
lO-QSB for its fiscal quarter ended September 30, 2003, did not contain any untrue statement of
a material fact or omitted to state a material fact required to be stated therein or necessary to
make the statements therein, in light of the circumstances under which they were made, not
misleading This statement was false since, among other reasons, these filings failed to record
Certified’s workers’ compensation liabilities booked bogus Letters of Credit as an asset, or
failed to properly describe its related party relationships and transactions

2. False Representations to the Auditors
81. Certified auditors issued unqualified audit opinions for Certified’s financial

statements for the fiscal years ending 2002 and 2003 that were filed with the Commission.

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82. In connection with Certified’s fiscal year-end 2002 audit, Pixler and Russo
provided Certified’s audit firm with a management representation letter that was materially false
and misleading Pixler provided the audit firm with a similarly false management representation
letter in connection with Certified’s fiscal year-end 2003 audit. ln these letters dated March 28,
2003 and March 24, 2004, respectively, Pixler or Russo falsely represented, among other things
that: (1) Certified’s financial statements were fairly presented in conformity with GAAP; (2)
there were no material transactions that were not properly recorded; and (3) related party
transactions were properly recorded or disclosed in the financial statements ln addition, the
March 24, 2004 letter falsely represented that Certified’s liabilities were fairly presented in its
financial statements These representations were false since Pixler and Russo knew, or were
extremely reckless in not knowing, the financial statements were not fairly presented in
conformity with GAAP; there were material transactions that were not properly recorded; and
related party transactions were not properly recorded or disclosed in the financial statements

CLAIMS FOR RELIEF

COUNT I

FRAUD IN VIOLATION OF SECTION 171AL§1) OF THE SECURITIES ACT
(As to Defendants Huff and Pixler)

83. The Commission repeats and realleges Paragraphs 1 through 82 of its Complaint
as if fully set forth herein

84. Defendants Huff and Pixler from approximately 2001 through 2004, have directly
and indirectly, by use of the means or instruments of transportation or communication in
interstate commerce and by use of the mails, in the offer or sale of securities as described in this

Complaint, knowingly, willfully or recklessly employed devices schemes or artifices to defraud.

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85. By reason of the foregoing, these Defendants have directly and indirectly,
violated and, unless enjoined, will continue to violate Section 17(a)(1) of the Securities Act, 15
U.S.C. § 77q(a)(1).

COUNT II
FRAUD IN VIOLATION OF SECTIONS 17(A)(2) AND 17(A)(3)
OF THE SECURITIES ACT
(As to Defendants Huff and Pixler)

86. The Commission repeats and realleges Paragraphs 1 through 82 of its Complaint
as if fully set forth herein

87. Defendants Huff and Pixler from approximately 2001 through 2004, directly and
indirectly, by use of the means or instruments of transportation or communication in interstate
commerce and by the use of the mails, in the offer or sale of securities as described in this
Complaint, have: (a) obtained money or property by means of untrue statements of material facts
and omissions to state material facts necessary to make the statements made, in the light of the
circumstances under which they were made, not misleading; and/or (b) engaged in transactions
practices and courses of business which are now operating and will operate as a fraud or deceit
upon purchasers and prospective purchasers of such securities

88. By reason of the foregoing, these Defendants directly and indirectly, have

violated and, unless enjoined, will continue to violate Sections l7(a)(2) and 17(a)(3) of the

Securities Act, 15 U.S.C. §§ 77q(a)(2) and 77q(a)(3).

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corning
FRAUD IN VIOLATION OF SECTION 10(B) AND RULE 10B-5

OF THE EXCHANGE ACT
(As to Defendants Huff, Pixler, Russo and McCartha)

89. The Commission repeats and realleges Paragraphs 1 through 82 of this Complaint
as if fully set forth herein

90. Defendants Pixler, Huff, Russo and McCartha from approximately 2001 through
2004, directly and indirectly, by use of the means and instrumentality of interstate commerce,
and of the mails in connection with the purchase or sale of securities knowingly, willfully or
recklessly: (a) employed devices schemes or artifices to defraud; (b) made untrue statements of
material facts and omitted to state material facts necessary in order to make the statements made,
in the light of the circumstances under which they were made, not misleading; and/or (c)
engaged in acts practices and courses of business which have operated, are now operating and
will operate as a fraud upon the purchasers of such securities

91. By reason of the foregoing, Defendants Pixler, Huff, Russo and McCartha directly
or indirectly, violated and will continue to violate unless enj oined, Section 10(b) of the Exchange
Act, 15 U.S.C. § 78j(b), and Rules 10b-5 thereunder, 17 C.F.R. § 240.10b-5.

COUNT IV
AIDING AND ABETTING VIOLATIONS OF SECTION 10(B) AND RULE 10B-5 OF
THE EXCHANGE ACT
(As Huff and Spinelli)

92. The Commission repeats and realleges Paragraphs 1 through 82 of this Complaint

as if fully set forth herein

93. Certified, Russo, Pixler, and McCartha from approximately 2001 through 2004,

directly and indirectly, by use of the means and instrumentality of interstate commerce, and of

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the mails in connection with the purchase or sale of securities knowingly, willfully or recklessly:
(a) employed devices schemes or artifices to defraud; (b) made untrue statements of material
facts and omitted to state material facts necessary in order to make the statements made, in the
light of the circumstances under which they were made, not misleading; and/or (c) engaged in
acts practices and courses of business which have operated, are now operating and will operate
as a fraud upon the purchasers of such securities

94. Defendants Huff and Spinelli from approximately 2001 through 2004, directly
and indirectly, had a general awareness that they were part of an overall activity that was
improper or illegal and knowingly, or were extremely reckless in not knowing, and provided
substantial assistance to violations by Certified, Russo, Pixler, and McCartha of Section 10(b) of
the Exchange Act, 15 U.S.C. § 78j(b), and Rules 10b-5 thereunder, 17 C.F.R. § 240.10b-5.

95. By reason of the foregoing, Defendants Huff and Spinelli, directly or indirectly,
violated and will continue to violate unless enjoined, Section 10(b) of the Exchange Act, 15
U.S.C. § 78j(b), and Rules 10b-5 thereunder, 17 C.F.R. § 240.10b-5.

COUNT V
SECTION 20(a) - CONTROL PERSON - LIABILITY FOR VIOLATIOS OF SECTION
lOgb) AND RULE lOB-S OF THE EXCHANGE ACT
(As to Huff)

96. The Commission repeats and realleges Paragraphs 1 through 82 of this Complaint
as if fully set forth herein

97. Defendant Huff from approximately 2001 through 2004 has been, directly or

indirectly, a control person of Certified for purposes of Section 20(a) of the Exchange Act, 15

U.s.C. § vsr(a).

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98. Certified from at least 2001 through 2004 violated Section 10(b) and Rule 10b-5
of the Exchange Act,

99. As a control person of Certified, Defendant Huff is jointly and severally liable
with and to the same extent as Certified for its violations of Section 10(b) and Rule 10b-5 of the
Exchange Act.

COUNT VI
VIOLATIONS OF SECTION 13(b)(5) AND RULES 13A-14, 13B2-1 AND 13B2-2 OF THE
EXCHANGE ACT
(As to Pixler and Russo)

100. The Commission repeats and realleges Paragraphs 1 through 82 of this Complaint
as if fully set forth herein

101. Defendants Pixler and Russo from approximately 2001 through 2004, in violation
of Section 13(b)(5) of the Exchange Act, knowingly circumvented or failed to implement a
system of internal accounting controls or falsified books records or accounts as described in
Section l3(b)(2) of the Exchange Act.

102. Defendants Pixler and Russo from approximately 2001 through 2004, in violation
of Rule 13b2-1 of the Exchange Act, directly or indirectly, falsified or caused to be falsified
books records or accounts subject to Section l3(b)(2) of the Exchange Act,

103. Defendants Pixler and Russo, from at least 2001 through 2004, in violation of
Rule 13b2-2 of the Exchange Act, directly or indirectly, as an officer or director of an issuer, in
connection with the preparation of an audit, made or caused to be made, misrepresentations or
omissions to an accountant.

104. By reason of the foregoing, Defendants Pixler and Russo, directly or indirectly,

violated and will continue to violate unless enjoined, Section 13(b)(5) of the Exchange Act, 15

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U.S.C. § 78m(b)(5), and Rules l3b2-1 and 13b2-2 thereunder, 17 C.F.R. §§ 240.13b2-1 and
240.13b2-2.
Q_Q_I_J_N_T_xn
AIDING AND ABETTING CERTIFIED VIOLATIONS OF SECTION 13(A) AND
RULES 12B-20, AND 13A-1 OF THE EXCHANGE ACT
(As to Pixler, Russo and McCartha)

105. The Commission repeats and realleges Paragraphs 1 through 82 of this Complaint
as if fully set forth herein

106. Defendants Pixler, Russo and McCartha from approximately 2001 through 2004,
aided and abetted or caused Certified’s violations of Sections l3(a) and Rules 12b-20 and 13a-lof
the Exchange Act, by knowingly, or acted extremely recklessly, providing substantial assistance
to Certified, which failed to timely and accurately file reports with the Commission regarding its
assets liabilities and related party descriptions and transactions omitted information necessary
to make the required information in the light of the circumstances under which they were made,
not misleading; and by filing or causing to be filed with the Commission materially false and
misleading financial and informational statements

107. By reason of the foregoing, Defendants Pixler, Russo and McCartha aided and
abetted or caused Certified’s violations and, unless enjoined, will again aid and abet or cause

violations of Sections l3(a) of the Exchange Act, 15 U.S.C. § 78m(a), and Rules 12b-20 and 13a-

1 thereunder, 17 C.F.R. §§ 240.12b-20, 240.13a-1 and 240.13a-13.

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COUNT VIII
AIDING AND ABETTING CERTIFIED VIOLATIONS OF SECTIONS 13(B)(2)(A) AND
13gB112)gB1 AND RULE 13A-13 OF THE EXCHANGE ACT
(As to Pixler and Russo)

108. The Commission repeats and realleges Paragraphs 1 through 82 of this Complaint
as if fully set forth herein

109. Defendants Pixler and Russo from approximately 2001 through 2004, aided and
abetted or caused Certified’s violations of Sections 13(b)(2)(A) and 13(b)(2)(B) and Rule 13a-13
of the Exchange Act, by failing to make and keep books records and accounts which, in
reasonable detail, accurately and fairly reflected the transactions of the issuer; by failing to
devise and maintain a system of internal accounting controls sufficient to reasonably assure that
transactions were recorded and financial statements were prepared in conformity with GAAP;
and by filing or causing to be filed with the Commission materially false and misleading financial
and informational statements

110. By reason of the foregoing, Defendants Pixler and Russo aided and abetted or
caused Certified’s violations and, unless enjoined, will again aid and abet or cause violations of
Sections 13(b)(2)(A) and 13(b)(2)(B) of the Exchange Act, 15 U.S.C. § 78m, and Rule 13a-13

thereunder, 17 C.F.R. § 240.13a-13.

RELIEF REQUESTED
WHEREFORE, the Commission respectfully requests that the Court:

I.

Declarato§y Relief

Declare, determine and find that Defendants committed the violations of the federal

securities laws alleged in this Complaint.

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II.
Permanent Iniunctive Relief

Issue a Permanent lnjunction, restraining and enjoining:

(1) Defendant Pixler, his officers agents servants employees attomeys, and all persons
in active concert or participation with him, from violating Section 17(a) of the Securities Act;
Sections 10(b) and 13(b)(5) and Rules 10b-5, 13a-14, 13b2-1, 13b2-2 of the Exchange Act; and
aiding and abetting any violation of Sections 13(a), 13(b)(2)(A) and 13(b)(2)(B) and Rules 12b-

20, 13a-l and 13a-13 of the Exchange Act;

(2) Defendant Huff, his officers agents servants employees attomeys, and all persons in
active concert or participation with him, from Violating Section 17(a) of the Securities Act;
Sections 10(b) and 20(a) and Rule 10b-5 of the Exchange Act; and aiding and abetting any

violation of Section 10(b) and Rule 10b-5 of the Exchange Act;

(3) Defendant Russo, his officers agents servants employees attomeys, and all persons
in active concert or participation with him, from violating Sections 10(b) and 13(b)(5) and Rules
10b-5, 13a-14, 13b2-1, 13b2-2 of the Exchange Act and aiding and abetting any violation of
Sections 13(a), 13(b)(2)(A) and 13(b)(2)(B) and Rules 12b-20, 13a-1 and 13a-13 of the

Exchange Act;

(4) Defendant McCartha, his officers agents servants employees attorneys and all
persons in active concert or participation with him, from violating Section 10(b) and Rule 10b-5
of the Exchange Act and aiding and abetting any violation of Section l3(a) and Rules 13a-1 and

12b-20 of the Exchange Act; and

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(5) Defendant Spinelli, his officers agents servants employees attomeys and all
persons in active concert or participation with him, from aiding and abetting any violation of
Section 10(b) and Rule 10b-5 of the Exchange Act.

III.

Accountings
Issue an Order requiring sworn accountings by Defendants Pixler, Huff and Russo and

Relief Defendants Sheri Huff, Roxann Pixler, Midwest and Brentwood.

IV.

Disgorgement

Issue an Order requiring Defendants Pixler, Huff and Russo and Relief Defendants Sheri
Huff, Roxann Pixler, Midwest and Brentwood to disgorge ill-gotten gains plus prejudgment

interest, which each received as a result of the acts or courses of conduct complained of herein

V.
Penalties
Issue an Order directing Defendants Pixler and Huff to pay civil money penalties
pursuant to Section 20(d) of the Securities Act, 15 U.S.C. § 77t(d) and Section 21(d) of the
Exchange Act, 15 U.S.C. § 78(d)(3), and directing Defendants Russo to pay a civil money

penalty pursuant to Section 21(d) of the Exchange Act,

VI.
Officer and Director Bar
Issue an Order barring all Defendants from serving as an officer or director of any public

company pursuant to Section 21(d)(2) of the Exchange Act, 15 U.S.C. § 78(d)(2).

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VII.

Penny Stock Bar

Issue an Order pursuant to the Court’s equitable jurisdiction and Section 603 of the
Sarbanes-Oxley Act of 2002 barring all Defendants from directly or indirectly participating in an
offering of penny stock, as defined by Rule 3a51-1 under the Exchange Act, 17 C.F.R. §
240.3a51-1.

VIII.

Retention of Juri_sdictiog
Further, the Commission respectfully requests that the Court retain jurisdiction over this
action in order to implement and carry out the terms of all orders and decrees that may be
entered, or to entertain any suitable application or motion by the Commission for additional

relief within the jurisdiction of this Court.

IX.
Further Relief

Grant such other and further relief as may be necessary and appropriate

Respectfully submitted,

March 6, 2008 By: %‘0% %Z/JZ:H

Christophef{l€. Martin
Senior Trial Counsel

SD Fla. Bar No. A5500747
Direct Dial: (305) 982-6386

Linda S. Schmidt

Senior Counsel

Fla. Bar No. 0156337

Direct Dial: (305) 982-6315

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Attomeys for Plaintiff

Securities and Exchange Commission
801 Brickell Avenue, Suite 1800
Miami, Florida 33131

Telephone: (305) 982-6300
Facsimile: (305) 536-4154

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§JS 44 (Rev. 11/05)

The JS 44 civil cover sheet and the information contained herein neither re
by local rules of court This form, approved by the J ud1clal Conference 0 the United tates m September 1974.1s reaurred for the use of
the CiVil docket Sheet. (SEE l"NSTRUCTIONS ON THE REVERSE OF THE FORM )

CIVIL COVER SHEET

 

I.

(a) PLArNTrFFs

Securities and Exchange Commission

(b) County of Residence of First Listed Plaintiff
(ExcEPr rN U.s. PLAINm=F CAsEs)

 

(C) Attorney’s (Firm Name, Address, and Telephone Number)

Securities and Exchange Commission
Christopher E. Martin, Esq. (305) 982-6386
801 Brickell Ave., Suite 1800, Miami, FL 33131

DEFENDANTS

W. Anthony Huff, D
McCartha, and Charles J. Spinelli, et al.

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES

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NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

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II. BASIS OF JURISDICTION

(Place an “X“ in One Box Only)

 

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III. CITIZENSHIP OF PRINCIPAL PARTIES{.E"\£“B “ " 'one;g>x forPlaimitr

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only) One for Defendant)
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D 120 Marine D 310 Airplane D 362 Personal Injury - D 620 Other Food & Drug Cl 423 Withdrawal D 410 Antitrust
Cl 130 Miller Act D 315 Airplane Product Med. Malpractice ij 625 Drug Related Seizure 28 USC 157 Cl 430 Banks and Banking
El 140 Negotiable lnsmxment Liability Cl 365 Personal Injury ~ of Property 21 USC 881 C| 450 Commerce
ij 150 Recovery of Overpayment D 320 Assault, Libel & Product Liability Cl 630 Liquor Laws PR E H'I`S D 460 Deportation
& Enf`orcement of Judgment Slander 13 368 Asbestos Personal D 640 R.R. & 'l`ruck Cl 820 Copyrights lj 470 Racketeer Influenced and
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(Excl. Veterans) g 345 Marine Product Cl 370 Other Fraud Cl 690 Other D 810 Selective Service
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13 190 Other Contract Product Liability Cl 385 Property Damage Cl 720 Labor/Mgmt. Relations D 863 DIWC/DIWW (405(g)) 12 USC 3410
D 195 Contract Product Liability D 360 Other Personal Product Liability D 730 Labor/Mgrnt.Reporting El 864 SSID Title XVI 13 890 Other Statutory Actions
D 196 Franchise Injury & Disclosure Act Cl 865 RSI (405(g)) Cl 891 Agricultural Acts
l REAL PROPERTY CIVIL RI_Q_H'I`S PRISONER PETI'I'IONS D 740 Railway Labor Act FEDERAL TAX SUITS El 892 Economic Stabilization Act
D 210 Land Condenmation Cl 441 Voting El 510 Motions to Vacate D 790 Other Labor Litigation D 870 Taxes (U.S. Plaintiff |J 893 Environmental Matters
El 220 Foreclosure U 442 Employment Sentence 1‘_'1 791 Empl. Ret. Inc. or Defendant) D 894 Energy Allocation Act
E| 230 Rent Lease & Ejectment E| 443 Housing/ Habeas Corpus: Security Act Cl 871 IRS-~Third Party D 895 Freedom of lnformation
E| 240 Torts to Land Accommodations El 530 General 26 USC 7609 Act
C] 245 Tort Product Liability Cl 444 Welfare 0 535 Death Penalty D 900Appeal of Fee Detennination
13 290 All Other Real Property EJ 445 Amer. w/Disabilities - Cl 540 Mandamus & Other Under Equal Access
Employment Cl 550 Civil Rights to Justice
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Proceeding State Court (see VI below) Reopened (specify) Lrtrgatron Jud mem

 

VI. RELATED/RE-FILED

cAsE(s).

(See instructions
second page):

 

a) Re-filed Case Cl YES 11 NO

JUDGE

b) Related Cases |J YES Q'N 0

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VII. CAUSE OF
ACTION

VIII. REQUESTED IN

diversity):

 

LENG'I`H OF TRIAL via 12
g CHECK IF THIS IS A CLASS ACTION

Violations of the federal securities laws

DEMAND $

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless

15 Usc §§ 77q(a)(1), 77q(a)(2) and 77q(a)(3); 17 cFR § 73j(b)a11d 17
CFR 8 240.10b-5115USC 8 78m(b\(51.17 CFR 88 240.l3b2-1& 240.l3b2-2115USC 8 78m l
days estimated (for both sides to try entire case)

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